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                                 NORTHERN DISTRICT OF CALIFORNIA
13
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14

15   UNITED STATES OF AMERICA,                  )   Case No. 18-CR-00258 EJD
                                                )
16           Plaintiff,                         )   UNITED STATES’ MOTION FOR ORDER THAT
                                                )   DEFENDANTS LACK INDIVIDUAL PRIVILEGE
17      v.                                      )   INTEREST IN THERANOS CORPORATE
                                                )   DOCUMENTS
18   ELIZABETH HOLMES and RAMESH                )
     “SUNNY” BALWANI,                           )   Date: December 14, 2020
19                                              )   Time: 1:30 p.m.
             Defendants.                        )   Court: Hon Edward J. Davila
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 1                                  NOTICE OF MOTION AND MOTION

 2 TO ALL PARTIES AND THEIR COUNSEL OF RECORD IN THIS ACTION:

 3          PLEASE TAKE NOTICE that on December 14, 2020 at 1:30 p.m., or as soon thereafter as the

 4 matter may be heard, in Courtroom 4, 5th Floor, of the United States District Court for the Northern

 5 District of California, 280 South 1st Street, San Jose, CA 95113, the United States will and hereby does

 6 move for an Order that Defendants lack an individual privilege interest in certain Theranos corporate

 7 documents. This motion is based upon the instant notice, the attached memorandum of points and

 8 authorities, the Declaration of John Bostic and associated exhibits filed herewith, the records in this

 9 case, and upon such argument as may be made at the hearing on the motion.

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     DATED: November 20, 2020                                    Respectfully submitted,
11
                                                                 STEPHANIE M. HINDS
12                                                               Attorney for the United States,
                                                                 Acting Under Authority Conferred
13                                                               By 28 U.S.C. § 515
14
                                                                 _/s/ John C. Bostic__________
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 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2                                              INTRODUCTION

 3          Defendant Holmes was the founder and chief executive of Theranos, a company that claimed to

 4 have developed revolutionary blood-testing technology. As founder and CEO, Holmes was also the

 5 public face of the company and its spokesperson. She was involved in virtually all aspects of the

 6 company’s operations—along with her partner, Ramesh Balwani. In that capacity, she frequently

 7 solicited the services of attorneys on behalf of the company. Holmes directed the activities of the

 8 counsel she retained, acting as a representative of the company she founded and ran. Theranos ceased

 9 operations in 2018, and has assigned all of its rights to an Assignee tasked with liquidating and

10 disbursing the company’s assets. Thus, Holmes no longer controls any attorney-client privilege

11 associated with Theranos. The Assignee has informed the government that it will not assert privilege

12 over the materials addressed by this motion. Nonetheless, Holmes’s counsel has repeatedly asserted the

13 privilege in response to document collection efforts by the government, interviews of key witnesses, and

14 most recently, sixteen documents on the government’s trial exhibit list.

15          There is no dispute that Holmes has the burden to establish the validity of any privilege she

16 wishes to assert. Thus far, Holmes has attempted to make that showing with conclusory statements

17 regarding purported joint representations of her and Theranos by lawyers including those at Boies,

18 Schiller, and Flexner. But in order to establish an individual privilege in the corporate context, Holmes

19 must show, among other things, that she clearly conveyed to Theranos’s lawyers that she was seeking
20 legal advice in their individual rather than in her representative capacity, that counsel saw fit to

21 communicate with her on those terms, and that the substance of the conversations did not concern

22 matters within the general affairs of the company. United States v. Graf, 610 F.3d 1148, 1160 (9th Cir.

23 2010). Holmes cannot make the required showing. Indeed, the communications at issue here relate to

24 the business of Theranos, and it is clear that Holmes engaged in these conversations in her capacity as

25 chief representative of the company. These facts do not create a personal privilege that Holmes can

26 assert in order to disrupt the government’s investigation or trial presentation.

27          Because Holmes has no valid privilege to assert as to this information, the Court should issue an

28 Order to that effect and hold that the documents and information at issue are admissible at trial.

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 1                                             BACKGROUND

 2 I.       Holmes’ Vague Claims of Privilege

 3          Defendants have a long history of making conclusory and unsubstantiated privilege claims in this

 4 case. In 2018, in connection with a motion alleging grand jury abuse, Defendants demanded that the

 5 government use a taint team to review any documents collected from Theranos during the final days of

 6 the company’s operation. (ECF No. 40). At that time, Defendants lacked standing to assert privilege

 7 claims on behalf of Theranos itself. The company had entered into an assignment for the benefit of

 8 creditors on September 12, 2018, making a general assignment on that date and transferring ownership

 9 of all of its rights to an Assignee. 1 (See Declaration of John Bostic in Support of Motion, Exh A

10 (Assignee Notice to Creditors)). Defendants argued, though, that the Theranos documents in question

11 “likely” included “documents covered by privileged belonging to the defendants as well.” (ECF No. 40

12 at 4). Magistrate Judge van Keulen denied Defendants’ motion as to grand jury abuse, but ordered the

13 government to employ a taint team to review the Theranos corporate documents.

14          The taint review process covered approximately 274,000 documents. The government taint team

15 took a very liberal view of Defendants’ privilege claims, but identified only twenty-five documents that

16 might be subject to even colorable claims of individual privilege by Holmes or Balwani. (Bostic Decl.

17 ¶ 2). Those results showed that Defendants’ professed concerns about privileged documents were

18 largely unfounded. Nonetheless, their privilege claims succeeded in slowing down a portion of the

19 government’s investigation.
20          The government trial team also has had a number of discussions with Holmes’s counsel

21 regarding documents produced by Theranos reflecting communications with the company’s lawyers.

22 The government has been working with the Theranos Assignee—the controller of any remaining

23 Theranos corporate privilege—in handling such documents. To the extent the Assignee has waived

24 Theranos’s corporate privilege as to specific documents, the government understands that it is free to

25 review and use those documents in its investigation. The government has agreed to inform the defense

26 of any express assertion or waiver of privilege by the Assignee so that Defendants may make equal use

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28            The Assignee was tasked with liquidating Theranos’s assets and distributing the available
     proceeds to creditors, and had no other relationship with Theranos the company. (Id.).
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 1 of non-privileged materials. Holmes’s counsel has objected to the government’s approach. (Bostic

 2 Decl. ¶ 3).

 3          Holmes also has objected to the government’s interactions with certain witnesses like David

 4 Boies, prominent attorney and member of Theranos’s Board of Directors. In February of 2019, counsel

 5 for Holmes wrote a letter to the government alleging that witnesses like Boies may have violated their

 6 legal obligations to Holmes by responding to government inquiries. (Bostic Decl., Exh. B). In response,

 7 the government asked that Holmes substantiate her concerns by identifying the specific engagements

 8 that gave rise to the obligations referenced in Holmes’s letter. (Bostic Decl., Exh. C). Rather than

 9 provide the requested details, Holmes sent the government a single example of a 2012 case where the

10 Boies Schiller firm filed a civil complaint on behalf of Theranos and Holmes. (Bostic Decl., Exh. D (see

11 Attachment B to letter)). At the same time, Holmes disclosed that the Boies Schiller firm had recently

12 clarified that it represented the company and not Holmes personally. (Id. (see Attachment A to letter)).

13          On June 26, 2020, the government served Defendant Holmes with its Exhibit List. On July 30,

14 2020, counsel for Holmes sent a letter to the government complaining that thirteen documents on the

15 government’s exhibit list implicated a privilege belonging to Holmes because they reflected

16 communications with attorneys at the law firm Boies, Schiller, and Flexner LLP. (Bostic Decl., Exh. E

17 (7/30/20 letter)). The documents in question were originally produced by Theranos in connection with a

18 lawsuit brought against the company by investor Partner Fund Management. (Bostic Decl. ¶ 4). Those

19 documents were later provided to the SEC during its investigation, and shared with the government in
20 2017, during the pre-indictment phase of the government’s investigation. (Id.). The government

21 produced these documents to Holmes and Balwani in October and November of 2018. (Id.).

22          Holmes’s privilege claims over these documents were based on the assertion that she and

23 Theranos were “jointly represented by Mr. Boies and his firm on a variety of matters during the period

24 of the alleged conspiracy.” (Bostic Decl., Exh. E (7/30/20 letter)). Holmes identified three additional

25 documents on the government’s Exhibit List that she contended were protected by Theranos’s corporate

26 privilege—although she continued to lack standing to assert or enforce any privilege on behalf of the

27 defunct company. (Id.).

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 1 II.      The Government’s Recent Attempts to Meet and Confer

 2          The government responded to Holmes’s letter on August 6, 2020. (Bostic Decl., Exh. F). The

 3 government informed the defense that the Theranos Assignee had waived privilege regarding the

 4 specific documents cited in Holmes’s letter, meaning that the documents were privileged only if Holmes

 5 could assert a personal privilege over them. (Id.). The government acknowledged that the Boies

 6 Schiller firm appeared on filings for Holmes in two litigation matters, both of which terminated in early

 7 March 2014. Holmes, however, had not explained why the Boies Schiller documents she identified

 8 were privileged as to her personally—or even stated that the law firm had represented her individually in

 9 2015 or 2016. (Id.). In order to allow the government to weigh Holmes’s privilege claims, the

10 government requested that Holmes identify the supporting facts, including: the identities of any

11 attorneys representing Holmes in connection with the documents; the nature of the legal engagements

12 underlying the document including the dates of those engagements; whether there were any retainer

13 agreements or joint defense agreements in those engagements; and whether Holmes personally paid for

14 the relevant legal services. (Id.). The government agreed that it would not share with any witness the

15 documents identified in Holmes’s letter, and that it would refrain from substantive review of those items

16 except as necessary to determine their privilege status, consistent with California Rule of Professional

17 Conduct 4.4. (Id.).

18          In subsequent meet and confer correspondence, Holmes demanded additional information from

19 the government, including copies of documents already produced to the defense and undiscoverable
20 communication between the government and the Theranos Assignee. (See, e.g., Bostic Decl, Exh. G).

21 In a September 22, 2020 letter, Holmes pointed to one additional litigation matter where Boies Schiller

22 purportedly represented Holmes personally. (Bostic Decl., Exh. H). Holmes refused to provide the

23 information that might show the specific documents in question were actually privileged, offering a

24 privilege log instead. (Id.).

25          On October 28, 2020, the government wrote to Holmes’s counsel requesting again that Holmes

26 proffer the facts necessary to establish her claims of privilege, and asking for the privilege log promised

27 in Holmes’s September 22, which had not yet been provided. (Bostic Decl.. Exh. I). In particular, the

28 government asked for the facts that Holmes would proffer to a court evaluating her privilege claims in a

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 1 final attempt to avoid litigation. (Id.). Holmes refused to provide those details. (Bostic Decl., Exh. J).

 2 Defendant’s most recent response attached a privilege log that does not include the information needed

 3 to establish Holmes’s privilege claims, necessitating this motion. (Bostic Decl., Exh. K).

 4                                                 ARGUMENT

 5 III.     It is Holmes’s Burden to Establish the Existence of a Valid Privilege

 6          Holmes has made it clear that she intends to assert broad, individual privilege claims over certain

 7 documents and information in this case, including thirteen of the documents identified on the

 8 government’s Exhibit List. Having made that choice, the burden falls on Holmes to prove that her

 9 claimed privilege is valid. “[A] party asserting the attorney-client privilege has the burden of

10 establishing the [existence of an attorney-client] relationship and the privileged nature of the

11 communication.” United States v. Ruehle, 583 F.3d 600, 607 (9th Cir.2009) (quoting United States v.

12 Bauer, 132 F.3d 504, 507 (9th Cir.1997)). The required showing is not an easy one. “Because it

13 impedes full and free discovery of the truth, the attorney-client privilege is strictly construed.” Id.

14 (quoting United States v. Martin, 278 F.3d 988, 999 (9th Cir.2002)). The party asserting the privilege

15 “bears the burden of proving each essential element” of the eight-part test that determines whether

16 information is covered by the privilege:

17          (1) Where legal advice of any kind is sought (2) from a professional legal adviser in his capacity

18          as such, (3) the communications relating to that purpose, (4) made in confidence (5) by the

19          client, (6) are at his instance permanently protected (7) from disclosure by himself or by the legal

20          adviser, (8) unless the protection be waived.

21 Id. at 607-608 (quotation omitted).

22          Similarly, the work-product doctrine protects documents “prepared by a party or his

23 representative in anticipation of litigation.” Admiral Ins. Co. v. U.S. Dist. Ct., 881 F.2d 1486, 1494 (9th

24 Cir.1989). Where a document was not created “exclusively for litigation,” then it qualifies for

25 production only if “in light of the nature of the document and the factual situation in the particular case,

26 the document can be fairly said to have been prepared or obtained because of the prospect of litigation.”

27 United States v. Richey, 632 F.3d 559, 568 (9th Cir. 2011) (quotation omitted). In applying this

28 standard, courts “consider the totality of the circumstances and determine whether the document was

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 1 created because of anticipated litigation, and would not have been created in substantially similar form

 2 but for the prospect of litigation.” Id. (quotation omitted). “The party seeking to invoke the work

 3 product doctrine bears the burden of establishing all the requisite elements, and any doubts regarding its

 4 application must be resolved against the party asserting the protection.” In re Application of Republic of

 5 Ecuador, 280 F.R.D. 506, 514 (N.D. Cal. 2012), aff'd sub nom. Republic of Ecuador v. Mackay, 742

 6 F.3d 860 (9th Cir. 2014).

 7 IV.      Holmes’s Claims of Individual Privilege Are Untenable

 8          In discussions with the government, Holmes oversimplifies the question of whether she can

 9 assert privilege over the documents and information in question. In her view, if a law firm once filed a

10 pleading on behalf of a person, that person has a perpetual right to shield from discovery all

11 communications with that firm and prevent their use as evidence in a criminal investigation and trial. As

12 discussed above, much more is required to successfully assert a claim of privilege. And establishing the

13 existence of a valid privilege is especially difficult in this case; the fact that these communications

14 occurred in the corporate context makes it “challenging to determine the identity of the client.” United

15 States v. Graf, 610 F.3d 1148, 1156 (9th Cir. 2010). The Ninth Circuit has contemplated these

16 challenges, including the factual scenario presented here: “[C]orporate officers, directors, and

17 employees who communicate with corporate counsel on behalf of the corporation may later attempt to

18 claim a personal attorney-client privilege regarding those communications after the corporation has

19 waived its own privilege.” Id.
20          In those cases, courts are guided by the rule that “any privilege that exists as to a corporate

21 officer’s role and functions within a corporation belongs to the corporation, not the officer.” In re

22 Bevill, Bresler & Schulman Asset Mgmt. Corp., 805 F.2d 120, 124 (3d Cir.1986) (cited in Graf, 610 F.3d

23 at 1159). In Bevill, the Third Circuit relied on a multi-part test to determine whether an individual had

24 successfully established a personal privilege in the context of corporate legal communications. That

25 test, later adopted by the Ninth Circuit, requires the person asserting the privilege to satisfy each of the

26 following five requirements.

27          First, they must show they approached counsel for the purpose of seeking legal advice. Second,

28          they must demonstrate that when they approached counsel they made it clear that they were

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 1          seeking legal advice in their individual rather than in their representative capacities. Third, they

 2          must demonstrate that the counsel saw fit to communicate with them in their individual

 3          capacities, knowing that a possible conflict could arise. Fourth, they must prove that their

 4          conversations with counsel were confidential. And fifth, they must show that the substance of

 5          their conversations with counsel did not concern matters within the company or the general

 6          affairs of the company.

 7 Graf, 610 F.3d at 1160 (quoting Bevill, 805 F.2d at 123, 125). 2 Here, Defendant has not made an

 8 adequate showing as to any of these factors. Based on the government’s understanding of the facts and

 9 the nature of the communications at issue, Holmes cannot satisfy factors two, three, or five.

10          The government assumes for the sake of argument that Holmes will establish that she engaged in

11 these communications because she was seeking legal advice in satisfaction of the first factor. It is highly

12 doubtful, though, that Holmes satisfied the second requirement of the Bevill test by clearly indicating to

13 Theranos’s outside counsel that she was seeking their advice in her personal capacity and not as a

14 representative of the company. It is important to note that this element of the test places the burden

15 squarely on the individual asserting the privilege to show that they expressly sought advice for

16 themselves as opposed to the company. Here, it seems the opposite is true. A review of Holmes’s

17 privilege log shows that the communications in question related to corporate matters, as discussed in

18 more detail below. It would have been strange indeed for Holmes to expressly ask for personal legal

19 advice on matters of corporate interest as opposed to seeking such guidance in her capacity as chief
20 executive of the company.

21          If Holmes did not make it clear to attorneys that she was seeking legal advice in her individual

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23          2
                This test has been adopted by several other circuits. See, e.g., In re Grand Jury Subpoena
     (Newparent ), 274 F.3d 563, 571–72 (1st Cir.2001); In re Grand Jury Subpoenas (Roe and Doe), 144
24   F.3d 653, 659 (10th Cir.1998); In re Grand Jury Proceedings, 156 F.3d 1038, 1040-41 (10th Cir.1998);
     United States v. Int’l Bhd. of Teamsters, 119 F.3d 210, 214-15 (2d Cir.1997). The Sixth Circuit appears
25   to use a similar test, requiring at a minimum that a corporate employee must make it clear to counsel that
     he seeks advice on personal matters. See Ross v. City of Memphis, 423 F.3d 596, 605 (6th Cir.2005)
26   (“Our court, like many others, requires that the individual officer seeking a personal privilege ‘clearly
     claim[ ]’ he is seeking legal advice in his individual capacity.”). Other circuits have cited Bevill
27   favorably without adopting the five-factor test. See, e.g., In re Sealed Case, 29 F.3d 715, 719 n. 5
     (D.C.Cir.1994).
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 1 capacity, then the attorneys could not have chosen to represent her individually in the context of the

 2 challenged communications. This fact prevents Holmes from meeting the third element of the Bevill

 3 test. As further evidence that Theranos’s lawyers did not agree to represent Holmes separate from her

 4 capacity as Theranos CEO, the firm itself informed Holmes’s lawyers in March of last year that Boies

 5 Schiller represented Theranos the company and did not represent Holmes personally. (Bostic Decl.,

 6 Exh. D (see Attachment A to letter)); see Graff, 610 F.3d at 1161 (noting that some of the attorneys in

 7 that case denied representing the defendant individually). Moreover, Holmes’s privilege log includes

 8 several documents where Holmes is merely copied on communication between others—and one

 9 communication not including her at all. (Bostic Decl., Exh. K). These facts undercut any claim of a

10 mutual understanding between Holmes and counsel that they were representing her individually.

11          In considering the second and third factors under Bevill, the Ninth Circuit in Graff stressed the

12 fact that the relevant retainer agreements had been signed on behalf of the company itself, noting also

13 that the defendant had not paid for any of the legal representation. Id. at 1161-62. The apparent lack of

14 a retainer agreement signed by Holmes in her personal capacity and a lack of any payment by Holmes

15 herself would have reinforced counsel’s understanding that they were not representing her individually

16 but only as a representative of Theranos.

17          Finally, as to the fifth Bevill factor, Holmes’s privilege log reveals that the substance of the

18 conversations in question related to “matters within [Theranos] or the general affairs of [Theranos].”

19 Graff, 610 F.3d at 1160. This fact alone prevents Holmes from satisfying the Bevill test, under which an
20 employee “may only assert an individual privilege to the extent that communications regarding

21 individual acts and liabilities are segregable from discussions about the corporation.” In re Grand Jury

22 Subpoena, 274 F.3d 563, 573 (1st Cir. 2001). Holmes claims an individual privilege over

23 communications on various topics, including attorney billing arrangements, investor contacts, regulatory

24 requirements, and claims by journalists. But not one of these topics relates to Holmes herself separate

25 from the business of Theranos. Instead, each of these subject areas, on its face, implicates the interests

26 and activities of Theranos as opposed to Holmes in her personal capacity. Accordingly, it is logical to

27 conclude that these conversations with counsel reflected Holmes’s role as founder, leader, and

28 spokesperson for Theranos as a company. Graff, 610 F.3d at 1162 (defendant failed fifth factor because

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 1 his discussions with counsel “related to his official duties at [the company] and the general affairs of the

 2 company”). As such, those communications did not give rise to any personal privilege Holmes can

 3 assert now.

 4            Nor can Holmes prevail simply by showing that the Boies Schiller firm may have represented

 5 her for specific legal engagements in the past—even if she could make such a showing. In Graf, the

 6 Ninth Circuit noted that some of the attorneys in question had actually represented the defendant

 7 personally at various times on a range of matters. Graf, 610 F.3d at 1162-63. Nonetheless, because that

 8 defendant had never asked those attorneys to represent him personally in connection with the

 9 communications at issue in that case, and because there was no evidence that the defendant consulted

10 those attorneys on anything other than company business, he could not establish the existence of a

11 personal attorney-client relationship or corresponding privilege. Similar facts here compel similar

12 results.

13            The defendant in Graf failed to prove an individual privilege despite having an additional

14 argument not available to Holmes. According to Graf, the fact that he was an independent contractor

15 rather than an employee of the relevant company meant that his conversations with corporation counsel

16 should not have fallen within the company’s privilege but his own. Graf, 610 F.3d at 1157. The Ninth

17 Circuit concluded that, although Graf had no official title at the company, he regularly communicated on

18 the company’s behalf, participated in marketing and management, and served as “the company’s voice

19 in its communications with counsel.” Id. Here, in contrast, Holmes was the founder and CEO of the
20 company that held the privilege. As the highest-ranking officer of the company, Holmes was involved

21 in every aspect of Theranos’s business, and served as the voice of the company in internal discussions,

22 in pitches to investors, in interviews with journalists, and in conversations with attorneys. Holmes

23 cannot recast those conversations—in which she spoke as head of the company—as personal simply to

24 frustrate the government’s access to evidence.

25            Holmes’s privilege claims here are further weakened by the fact that David Boies and his firm

26 were heavily involved in Theranos’s activities from the early days of the company. Based on the

27 information available to the government, it appears that the law firm worked on a wide range of issues

28 for the company. Under those circumstances, it is inappropriate to assume that every communication

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 1 between Holmes and a Boies Schiller attorney relates to the firm’s representation of her personally. As

 2 for David Boies himself, he acted as Theranos’s lawyer in some situations but was also an investor in

 3 the company. He sat on the company’s Board of Directors beginning in mid-to-late 2015, where he

 4 would have provided general input on the company’s growth and business strategies. See, e.g., United

 5 States v. Rowe, 96 F.3d 1294, 1297 (9th Cir. 1996) (“Where the attorney was asked for business (as

 6 opposed to legal) counsel, no privilege attached….”).

 7          Defendant’s work-product assertions do not change the outcome. Holmes’s privilege log

 8 references documents that appear to be dual-use at best, and she cannot show that the documents would

 9 not have been created in the same form absent the prospect of litigation. See Richey, 632 F.3d at 568.

10 More important, it would make little sense if a corporate executive could to assert work-product

11 privilege in cases where the corresponding attorney-client privilege belonged only to the company.

12 Courts faced with scenarios similar to this one have applied the logic of the Bevill test to reject

13 accompanying work-product claims. See, e.g., Grassmueck v. Ogden Murphy Wallace, P.L.L.C., 213

14 F.R.D. 567, 572 (W.D. Wash. 2003) (holding that former employee could not invoke work-product

15 privilege over documents that “relate to the corporate affairs and are not segregable from representation

16 of [the employee] as an individual). Even if some of the materials in question were created for the joint

17 benefit of Holmes and Theranos, the work product privilege does not give her the power to veto

18 disclosure. Grand Jury Subpoena, 274 F.3d at 574. The Theranos Assignee’s waiver “negates [her]

19 potential claim” of work-product privilege. Id.
20                                                CONCLUSION

21          Accordingly, the Court should issue an order holding that Holmes has not established an

22 individual privilege as to communications with Boies Schiller attorneys, and hold that the documents in

23 question are admissible and not privileged.

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 1 DATED: November 20, 2020                        Respectfully submitted,

 2                                                 STEPHANIE M. HINDS
                                                   Attorney for the United States,
 3                                                 Acting Under Authority Conferred
                                                   By 28 U.S.C. § 515
 4

 5                                                 _/s/ John C. Bostic__________
                                                   JOHN C. BOSTIC
 6                                                 JEFF SCHENK
                                                   ROBERT S. LEACH
 7                                                 VANESSA BAEHR-JONES
                                                   Assistant United States Attorneys
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